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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                             Magistrate Judge Susan Prose

Civil Action No: 1:24-cv-00656-SBP                  Date: February 25, 2025
Courtroom Deputy: Stef Jeffries                     FTR: Courtroom A502

 Parties:                                           Counsel:

 MICHAEL LEFEBVRE,                                  Pro se

        Plaintiff,

 v.

 WELD COUNTY, COLORADO,                             Zane Gilmer
 STEVE REAMS, Sheriff, TRINITY SERVICE              Eric Ziporin
 GROUP, M. TURNER, Capt., M. ELBE, Capt.,
 M. KNEE, Lt., POLLARD, Lt., BRANDON
 WILLIAMS, Intake Services, O. BRAUN, Kitchen
 Supervisor, M. BALDERES, Kitchen Supervisor,
 TRENT, Kitchen Supervisor, JAMES, Kitchen
 Supervisor, JOHN DOE, T.S.G. Breakfast,
 JOHN DOE, T.S.G. Regional Supervisor, JOHN DOE,
 T.S.G. Kitchen, Lunch, JOHN DOE, T.S.G. Kitchen,
 Dinner, RICHARDS, Deputy, CLARK, Deputy,
 JOHN DOE, Kitchen Deputy, JOHN DOE, Unit 4 Pod
 Deputy, Breakfast, JOHN DOE, Unit 4 Pod Deputy,
 Lunch, JOHN DOE, Unit 4 Pod Deputy, Dinner,
 DUANE DURAN, Chaplain, BILLINGTON, Sgt.,
 KEEFE SUPPLY CO., JOHN DOE, Keefe Rep.,
 OVERHALT, Sgt., J. MEADOWS, Sgt., HALLORAN,
 Lt., GARTRELL, Deputy, SUMMERS, Sgt.,
 JOHN DOE, Sgt., and L. BOEHM, Mailroom
 Supervisor,

        Defendants.


                             COURTROOM MINUTES


TELEPHONIC STATUS CONFERENCE
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9:37 a.m.        Court in session.

The Court calls the case. Appearances of counsel, and pro se Plaintiff.

This matter is before the Court regarding the status of the case.

Discussion is held regarding Plaintiff’s mailing address and returned mail associated with the
case.

Discussion is held regarding the status of serving the remaining defendants.

For the reasons stated on the record, it is

ORDERED:          The Clerk’s office is directed to add “Case Manager For” Plaintiff as an
                  interested party to receive mail at Adams Community Corrections Program.

                  On or before March 11, 2025, Mr. Ziporin SHALL provide current addresses for
                  former county employees that remain unserved or notify the Court that new
                  information is not available. Any location information provided may be filed
                  under restriction.

                  The Parties shall confer and file the Magistrate Judge consent form no later than
                  14 days after service has been completed on all parties.

                  A telephonic Status Conference is set for April 10, 2025, at 9:30 a.m. before
                  Magistrate Judge Susan Prose. The parties shall attend by calling 571-353-2301,
                  Guest meeting ID- 868150043. All attendees shall please mute their phone when
                  not speaking and not use speaker phone.

10:07 a.m.       Court in recess.

Hearing concluded.
Total in-court time: 30 minutes

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Litigation Services at (303) 629-8534.




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